                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )       NO. 3:06-00031-10
                                                 )       JUDGE CAMPBELL
TERRY BATES                                      )


                                          ORDER

      Pending before the Court is the Government’s Motion to Substitute Counsel for Revocation

Hearing (Docket No. 876). The Motion is GRANTED.

      It is so ORDERED.

                                                 ____________________________________
                                                 TODD J. CAMPBELL
                                                 UNITED STATES DISTRICT JUDGE




 Case 3:06-cr-00031     Document 877       Filed 10/31/13     Page 1 of 1 PageID #: 3269
